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IN THE UNITED STATES DISTRICT COURT {LD BY ““'---D.{:
FOR THE WESTERN DISTRICT OF TENNESSEE 05 APR 20 p"

 

EASTERN DIVISION aggch a " 2'
cags%@ " 8 §§S§L§)

LARRY s. MELTON, et al., ) § T" JACKSON

Plaintiffs, §
vs. § No. 02-1242-T
JOHN JEWELL, et al., §

Defendants. §
JOHN JEWELL, et al., )

Plaintiffs, §
vs. § No. 03-1271-T
BLANKENSHIP/MELTON §
AVIATION, et al., )

Defendants. §

ORDER

 

These consolidated cases are hereby assigned to Magistrate Judge Tu M. Pharn.

 

 

IT IS SO ORDERED. J{`
S D. TODD
TED STATES DISTRlCT JUDGE
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Th|s document entered onthe DATE

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Honorable J ames Todd
US DISTRICT COURT

